                         UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

IN RE                                       ()
Ismael Hector Torres                        ()             CASE NO        04-61462
Edie D. Torres                              ()                            CHAPTER 13
        Debtors                             ()

                   NOTICE OF TERMINATION OF AUTOMATIC STAY
                         FOR FAILURE TO CURE DEFAULT

   1. On May 31, 2005, an Agreed Order Conditioning Automatic Stay was entered with the
      Court. The Debtor failed to comply with the terms of the Agreed Order and a default
      letter was sent to Debtor pursuant to paragraph 9 of the Order. Debtor failed to cure the
      default in accordance with the default letter.
   2. In accordance with paragraph 9 of the Agreed Order, the automatic stay is terminated
      with respect to Michael Milligan.
                                            Respectfully submitted,
                                            Law Firm of Gary William Cunha, Esq.
                                            510 N. Valley Mills, #304
                                            Waco, Texas 76710
                                            254-752-4279
                                            fax 254-751-7288
                                            TBC# 24007061

                                                   /S
                                            Gary William Cunha
                                            Attorney for Movant

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on July 1, 2005, a true and correct copy of the
foregoing was served via electronic means as listed on the Court’s ECF Noticing System or by
US mail on the following parties in interest:

Chapter 13 Trustee
Ray Hendren
101 E 9th Street Suite 1200
Austin TX 78701

Glynn Beaty
6801 Sanger #190
Waco, TX 76710

Ismael Hector Torres
Edie D. Torres
1727 Wilson Ave.
Waco, TX 76708
      /S
Gary William Cunha
